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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                     BALTIMORE DIVISION

JASON ALFORD et al.,

                        Plaintiffs,

           v.                                                   Case No. 1:23-cv-00358-JRR

THE NFL PLAYER DISABILITY &
SURVIVOR BENEFIT PLAN et al.,

                        Defendants.


                DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT OF
                         PLAINTIFF DANIEL LOPER’S CLAIMS

           Defendants the NFL Player Disability & Survivor Benefit Plan, the NFL Player

Disability & Neurocognitive Benefit Plan, the Bert Bell/Pete Rozelle NFL Player Retirement

Plan, the Disability Board of the NFL Player Disability & Neurocognitive Benefit Plan hereby

move for summary judgment of Plaintiff Daniel Loper’s claims in the Amended Complaint, ECF

No. 56. For the reasons more fully explained in the accompanying Memorandum in Support of

Defendants’ Joint Motion for Summary Judgment of Plaintiff Daniel Loper’s Claims, the Court

should grant summary judgment for Defendants on Counts I, II, III, and V as to Mr. Loper. 1

           Summary judgment is warranted for Defendants here because: (i) the undisputed facts

show that Mr. Loper was not entitled to benefits under the terms of the Plan and the Board did

not abuse its discretion in denying Mr. Loper’s claim because its decision was based on

substantial evidence; (ii) the decision letters Mr. Loper received provided the required

information and complied with the requirements of the Employee Retirement Income Security

Act; (iii) expert analysis of physician assignments and compensation disproves Plaintiffs’ theory


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    The Court has already dismissed Count IV in its entirety. ECF No. 78 at 47.
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that Neutral Physicians with more frequent examination assignments are associated with higher

rates of application or appeal denials; and (iv) Mr. Loper’s fiduciary breach allegations are

derivative of the same alleged failures underlying Counts I, II, and III, and the kinds of errors

Mr. Loper alleges do not come close to the standard to demonstrate a fiduciary breach.



Date: November 18, 2024                           Respectfully submitted,

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                                                  Player Disability & Neurocognitive Benefit
                                                  Plan, The Bert Bell/Pete Rozelle NFL Player
                                                  Retirement Plan, and The Disability Board of
                                                  the NFL Player Disability & Neurocognitive
                                                  Benefit Plan




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                                CERTIFICATE OF SERVICE

       I, Gregory F. Jacob, hereby certify that on November 18, 2024, I caused a copy of the

foregoing document to be served upon all counsel of record via the CM/ECF system for the

United States District Court for the District of Maryland.


                                                     /s/ Gregory F. Jacob
                                                     Gregory F. Jacob
